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                     UNITED STATES DISTRICT COURT
                      MIDDLE DISTRICT OF FLORIDA
                           TAMPA DIVISION

  VIRAL STYLE, LLC,

              Plaintiff,
  v.                                            Case No.

  IRON MAIDEN HOLDINGS LTD.
  and AM SULLIVAN LAW, LLC,

              Defendants.
                                       /

                                 EXHIBIT I

                                     TO

                                COMPLAINT
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 100 North Tampa Street, Suite 4100 | Tampa, FL 33602 | T | F 813.229.0134
 Holland & Knight LLP | www.hklaw.com


 David J. Lisko
 +1 813-227-6397
 David.Lisko@hklaw.com




 February 16, 2021



 Via Email and Federal Express

 Iron Maiden Holdings Ltd.
 Ann Marie Sullivan
 AM Sullivan Law, LLC
 1440 W. Taylor St., Suite 515
 Chicago, Illinois 60607
 ams@amsullivanlaw.com

           Re:       Demand For Immediate Return of Funds – Fla. Stat. § 772.11 30 Days’ Notice

 Greetings:

 Viral Style, LLC (“Viral Style”) has engaged the law firm of Holland & Knight LLP related to
 Iron Maiden Holdings Ltd. (“Iron Maiden”) improperly taking $200,000.00, without authorization,
 from Viral Style’s PayPal account on February 1, 2021. The entire $200,000.00 must be returned
 to Viral Style by the end of business on February 19, 2021 or Viral Style will file suit against Iron
 Maiden. If suit is filed, Viral Style will seek all possible damages, including for its attorneys’ fees,
 against Iron Maiden. If Iron Maiden does not return the $200,000.00 to Viral Style on or before
 Thursday March 18, 2021, pursuant to Fla. Stat. § 772.11, Iron Maiden will be liable to Viral Style
 for treble damages ($600,000.00). If, however, Iron Maiden does the right thing and pays the
 $200,000.00 back to Viral Style on or before March 18, 2021, Viral Style shall give Iron Maiden
 a written release from further civil liability related to the improper taking of the $200,000.00

 As Iron Maiden’s attorney is aware, because she used Viral Style’ website, Viral Style is an online
 service provider e-commerce platform and/or marketplace. Viral Style’s online platform enables
 individuals, organizations, charities, and companies to create, sell, and distribute unique products.
 Viral Style enables online user sellers to sell products in a variety of categories, including but not
 limited to clothing, hats, and accessories. The process by which third-party user sellers use the
 Viral Style website to sell their products is as follows:

           A.        After creating an account, a prospective user seller chooses a product category, a
                     specific product and later, specific materials.



 Atlanta | Austin | Boston | Charlotte | Chicago | Dallas | Denver | Fort Lauderdale | Houston | Jacksonville
 Los Angeles | Miami | New York | Orange County | Orlando | Philadelphia | Portland | San Francisco
 Stamford | Tallahassee | Tampa | Tysons | Washington, D.C. | West Palm Beach
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         B.     The prospective user seller selects a design template (e.g., Adobe Illustrator or
 Photoshop) and adds text and/or artwork and designs to the product. A prospective user seller may
 select a design from the suite of designs Viral Style offers or a prospective user seller may
 customize its product design by uploading an image of its choosing.

         C.     The user seller determines the price.

         D.     Eventually, the user seller posts the product for sale on the Viral Style website
                (referred to as a “launch” or a “campaign”) and advertises the sale of the products
                as they see fit.

         E.     If there are sales, proceeds are paid to Viral Style by the customer via PayPal and
                Viral Style pays a portion of the sale proceeds to the user seller. Viral Style retains
                a portion of the sale proceeds as administrative charges.

 User sellers launch or relaunch approximately 4000 campaigns each day on the Viral Style website.
 By using the Viral Style website, user sellers agree to Viral Style’s “Terms of Service,” which
 incorporates Viral Style’s User Agreement, the Intellectual Property Complaint Policy, Viral
 Style’s Counter-Notice Policy, Viral Style’s Repeat Intellectual Property Complaint Policy, Viral
 Style’s Refund Policy, and Viral Style’s Privacy Policy. These policies are designed, in part, to
 prevent copyright and trademark infringement.

 Viral Style is not a copyright infringer and is protected from allegations of copyright infringement
 by the Digital Millennium Copyright Act’s (“DMCA”) safe harbor for online service provider e-
 commerce platforms and/or marketplaces. As is clear from the Viral Style website, and therefore
 is known by Iron Maiden’s attorney (because she used the Viral Style website), 1 Viral Style meets
 the DMCA safe harbor requirements. As an experienced intellectual property attorney, Iron
 Maiden’s counsel is well aware of the DMCA safe harbor.

 On September 4, 2020, Iron Maiden sued hundreds of defendants, alleging a complex and well-
 organized international conspiracy to infringe on Iron Maiden’s intellectual property, Case No.:
 1:20-cv-05251 (the “Lawsuit”). Viral Style was one of the named defendants in the Lawsuit but
 was never served with anything by Iron Maiden related to the Lawsuit. It does not appear that any
 attempts were even made to serve Viral Style. Iron Maiden sought an ex parte injunction related
 to the Lawsuit, which was granted (the “Preliminary Injunction”). No defendant attempted to block
 the Preliminary Injunction and no defense attorney was present during the hearing in which Iron
 Maiden was granted the Preliminary Injunction.



 1
  See Memorandum In Support of Plaintiff’s Ex Parte Motion for Entry of a Temporary Restraining
 Order, Including a Temporary Injunction, a Temporary Asset Restraint, and Expedited Discovery
 (Dkt. 10), Declaration of Paul Varley, Exhibit 3 (Pg. 218 of 234).




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 As a result of the Preliminary Injunction, on September 28, 2020, Iron Maiden froze Viral Style’s
 PayPal account that it uses day-to-day to conduct business. When Viral Style inquired into why its
 PayPal account was frozen, PayPal instructed that it was because of the Lawsuit. Immediately,
 through counsel, Viral Style made contact with Iron Maiden’s counsel to unfreeze its PayPal
 account. Counsel for Viral Style informed Iron Maiden that Viral Style was not involved in an
 international conspiracy to infringe on Iron Maiden’s intellectual property, that Viral Style was an
 online service provider e-commerce platform and/or marketplace, and that Viral Style should
 immediately be dismissed as a defendant in the Lawsuit. Counsel for Iron Maiden responded,
 stating that Viral Style was likely named as a defendant in the Lawsuit in error but that perhaps
 Viral Style was liable for infringing on Iron Maiden’s intellectual property in some way unrelated
 to the Lawsuit. On September 30, 2020, Iron Maiden’s counsel followed up, stating that Viral Style
 was brought into the Lawsuit in error but that two other defendants in the Lawsuit, “BEATTEE”
 and “89ARTSHIRT” shared a PayPal account with Viral Style and therefore the PayPal account
 being discussed would need to remain frozen. Of course, this statement was inaccurate, which Iron
 Maiden’s counsel was aware of because she is a user of Viral Style’s website. Viral Style does not
 share its PayPal account with its tens of thousands of user sellers (including BEATTEE or
 89ARTSHIRT). Viral Style accepts and makes payments through its PayPal account, it does not
 share its account. No person or company other than Viral Style has any administrative rights or
 responsibilities related to Viral Style’s PayPal account. 2

 Following this dialogue, on October 2, 2020, Iron Maiden dismissed Viral Style from the Lawsuit
 and Viral Style’s PayPal account was unfrozen. It appears that something similar happened with
 other defendants in the Lawsuit. Any defendant represented by defense counsel was dismissed
 from the Lawsuit. This allowed Iron Maiden to proceed forward in the Lawsuit without any defense
 being presented to the court ever. On November 25, 2020, almost two months after Viral Style
 was dismissed from the Lawsuit, Iron Maiden filed a motion for default as to all remaining
 defendants, none of which had made any filings in the Lawsuit. On December 1, 2020, with no
 defense counsel present, the court held a hearing on Iron Maiden’s motion for default and granted
 a Final Judgment Order as to the defaulted defendants (only). Of course, Viral Style was not a
 defaulted defendant subject to the Final Judgment Order because Viral Style was not even a
 defendant in the Lawsuit at that time. Viral Style was dismissed from the Lawsuit two months
 prior.

 Without providing any notice to Viral Style, Iron Maiden improperly and without any authority to
 do so took $200,000.00 from Viral Style’s PayPal account on February 1, 2021. Iron Maiden did
 so with full knowledge that (a) Viral Style was dismissed from the Lawsuit, (b) was only named
 as a defendant in the Lawsuit by mistake, (c) was an online service provider e-commerce platform


 2
   Viral Style has not, actually, made any payments to BEATEE or 89ARTSHIRT via its PayPal
 account. Thus, if BEATEE or 89ARTSHIRT sold any products that infringed on Iron Maiden’s
 intellectual property, they did not receive any compensation related to the infringement from Viral
 Style’s PayPal account.




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 and/or marketplace, and (d) that Viral Style did not share its PayPal account with BEATEE or
 89ARTSHIRT.

 Iron Maiden is currently in possession of $200,000.00 that belongs to Viral Style. Iron Maiden is
 guilty of civil theft in violation of Fla. Stat. § 772.11. This money must be paid back immediately
 or Viral Style will file suit against Iron Maiden. Please conduct yourself accordingly.

 Sincerely yours,

 HOLLAND & KNIGHT LLP




 David J. Lisko




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 David J. Lisko
 +1 813-227-6397
 David.Lisko@hklaw.com




 February 18, 2021



 Via Email and Federal Express

 Iron Maiden Holdings Ltd.
 c/o Ann Marie Sullivan
 1440 W. Taylor St., Suite 515
 Chicago, Illinois 60607
 ams@amsullivanlaw.com

 AM Sullivan Law, LLC
 c/oAnn Marie Sullivan
 1440 W. Taylor St., Suite 515
 Chicago, Illinois 60607
 ams@amsullivanlaw.com

           Re:       Demand For Immediate Return of Funds – Fla. Stat. § 772.11 30 Days’ Notice

 Greetings:

 As you know, Viral Style, LLC (“Viral Style”) has engaged the law firm of Holland & Knight LLP
 related to Iron Maiden Holdings Ltd. (“Iron Maiden”) improperly taking $200,000.00, without
 authorization, from Viral Style’s PayPal account on February 1, 2021. As previously explained in
 Viral Style’s February 16, 2021 demand letter, the entire $200,000.00 must be returned to Viral
 Style by the end of business on February 19, 2021, or Viral Style will file suit against Iron Maiden.
 In addition, Viral Style will file suit again Iron Maiden’s counsel, AM Sullivan Law, LLC (“AM
 Sullivan Law”), for, among other things, its improper conduct of maliciously filing a frivolous
 lawsuit against Viral Style, abusing the judicial process by obtaining an improper freeze on Viral
 Style’s accounts, making numerous misrepresentations to and about Viral Style, and assisting with
 the theft of Viral Style’s $200,000.00. If suit is filed, Viral Style will seek all possible damages,
 including for its attorneys’ fees, against Iron Maiden and AM Sullivan Law. If Iron Maiden does
 not return the $200,000.00 to Viral Style on or before Friday March 19, 2021, pursuant to Fla. Stat.
 § 772.11, Iron Maiden and AM Sullivan Law will be liable to Viral Style for treble damages
 ($600,000.00). If, however, Iron Maiden does the right thing and pays the $200,000.00 back to
 Viral Style on or before March 18, 2021, Viral Style shall give Iron Maiden a written release from



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 Los Angeles | Miami | New York | Orange County | Orlando | Philadelphia | Portland | San Francisco
 Stamford | Tallahassee | Tampa | Tysons | Washington, D.C. | West Palm Beach
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 further civil liability related to the improper taking of the $200,000.00. Viral Style will also
 consider a written release of AM Sullivan Law if Iron Maiden returns the funds.

 Because this letter is directed at both Iron Maiden and AM Sullivan Law, Viral Style will reiterate
 the information contained in Viral Style’s February 16, 2021 demand letter.

 As Iron Maiden’s attorney is aware, because she used Viral Style’ website, Viral Style is an online
 service provider e-commerce platform and/or marketplace. Viral Style’s online platform enables
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 to the Lawsuit, which was granted (the “Preliminary Injunction”). No defendant attempted to block
 the Preliminary Injunction and no defense attorney was present during the hearing in which Iron
 Maiden was granted the Preliminary Injunction.

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 PayPal account that it uses day-to-day to conduct business. When Viral Style inquired into why its
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   See Memorandum In Support of Plaintiff’s Ex Parte Motion for Entry of a Temporary Restraining
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 (Dkt. 10), Declaration of Paul Varley, Exhibit 3 (Pg. 218 of 234).
 2
   Viral Style has not, actually, made any payments to BEATEE or 89ARTSHIRT via its PayPal
 account. Thus, if BEATEE or 89ARTSHIRT sold any products that infringed on Iron Maiden’s
 intellectual property, they did not receive any compensation related to the infringement from Viral
 Style’s PayPal account.




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 other defendants in the Lawsuit. Any defendant represented by defense counsel was dismissed
 from the Lawsuit. This allowed Iron Maiden to proceed forward in the Lawsuit without any defense
 being presented to the court ever. On November 25, 2020, almost two months after Viral Style
 was dismissed from the Lawsuit, Iron Maiden filed a motion for default as to all remaining
 defendants, none of which had made any filings in the Lawsuit. On December 1, 2020, with no
 defense counsel present, the court held a hearing on Iron Maiden’s motion for default and granted
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 and/or marketplace, and (d) that Viral Style did not share its PayPal account with BEATEE or
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 Iron Maiden is currently in possession of $200,000.00 that belongs to Viral Style. Iron Maiden and
 AM Sullivan Law are guilty of civil theft in violation of Fla. Stat. § 772.11. This money must be
 paid back immediately or Viral Style will file suit against Iron Maiden and AM Sullivan Law.
 Please conduct yourself accordingly.

 Sincerely yours,

 HOLLAND & KNIGHT LLP




 David J. Lisko




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